Case 2:15-ml-02668-PSG-SK Document 586-1 Filed 07/29/22 Page 1 of 4 Page ID #:9886



    1   DANIEL M. PETROCELLI (S.B. #97802)
         dpetrocelli@omm.com
    2   M. RANDALL OPPENHEIMER (S.B. #77649)
    3    roppenheimer@omm.com
        O’MELVENY & MYERS LLP
    4   1999 Avenue of the Stars, 8th Floor
        Los Angeles, CA 90067
    5   Telephone: (310) 553-6700
    6
        Facsimile: (310) 246-6779

    7   Attorneys for Non-Party DIRECTV, LLC and
        DIRECTV Holdings LLC
    8
        [Additional counsel listed on signature page]
    9

   10                            UNITED STATES DISTRICT COURT
   11                          CENTRAL DISTRICT OF CALIFORNIA
   12
        IN RE: NATIONAL FOOTBALL                        Case No. 2:15-ml-02668-PSG (JEMx)
   13   LEAGUE’S “SUNDAY TICKET”
        ANTITRUST LITIGATION                            DECLARATION OF JEFFREY A.
   14                                                   N. KOPCZYNSKI IN SUPPORT OF
        THIS DOCUMENT RELATES TO                        NON-PARTY DIRECTV, LLC AND
   15   ALL ACTIONS                                     DIRECTV HOLDINGS LLC’S
                                                        STATEMENT REGARDING
   16                                                   PLAINTIFFS’ MOTION TO TAKE
                                                        LIMITED DISCOVERY AFTER
   17                                                   THE DEADLINE FOR FACT
                                                        DISCOVERY
   18
                                                        JUDGE: Hon. Philip S. Gutierrez
   19                                                   DATE: August 19, 2022
                                                        TIME: 1:30 p.m.
   20                                                   COURTROOM: First Street Courthouse
                                                        350 West 1st Street
   21                                                   Courtroom 6A
                                                        Los Angeles, CA 90012
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Case 2:15-ml-02668-PSG-SK Document 586-1 Filed 07/29/22 Page 2 of 4 Page ID #:9887



    1           I, Jeffrey A. N. Kopczynski, declare under penalty of perjury that the following
    2   is true and correct:
    3      1. I am over the age of twenty-one (21) years and am a counsel at O’Melveny &
    4   Myers LLP. I am counsel for Non-Party DIRECTV, LLC and DIRECTV Holdings
    5   LLC’s (“DIRECTV”) Statement Regarding Plaintiffs’ Motion To Take Limited
    6   Discovery After The Deadline For Fact Discovery. I submit this declaration in support
    7   of DIRECTV’s statement.
    8      2. Attached as Exhibit 1 is a true and correct redacted copy of DIRECTV’s April
    9   8, 2022 response to Plaintiffs’ questions about DIRECTV’s privilege log. We have
   10   redacted from this Exhibit and others submitted today certain competitive and/or
   11   personally sensitive information unrelated to the substance relevant to DIRECTV’s
   12   statement.
   13      3. Attached as Exhibit 2 is a true and correct redacted copy of DIRECTV’s April
   14   29, 2022 Affiliation List.
   15      4. Attached as Exhibit 3 is a true and correct copy of DIRECTV’s May 16, 2022
   16   letter to Plaintiffs regarding its privilege log.
   17      5. Attached as Exhibit 4 is a true and correct copy of a transmittal email, attaching
   18   DIRECTV’s June 6, 2022 revised privilege log.
   19      6. Attached as Exhibit 5 is a true and correct redacted copy of DIRECTV’s July
   20   15, 2022 response to Plaintiffs’ July 8, 2022 letter about DIRECTV’s privilege log.
   21      7. DIRECTV asserted privilege over approximately 6 percent of documents
   22   responsive to Plaintiffs’ document requests, totaling approximately 30,000 documents.
   23   Of those 30,000 documents, DIRECTV produced in redacted form over 8,000 of them.
   24      8. After spending multiple hours engaging with Plaintiffs, including across three
   25   separate meet-and-confer calls, and repeatedly urging Plaintiffs to identify with more
   26   specificity their privilege challenges, on April 29, 2022, DIRECTV produced at
   27   significant expense, an affiliation list, which contained the names and affiliations of each
   28   individual on DIRECTV’s privilege log. This document contained over 3500 entries.
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Case 2:15-ml-02668-PSG-SK Document 586-1 Filed 07/29/22 Page 3 of 4 Page ID #:9888



    1      9. On June 6, 2022, DIRECTV further produced to Plaintiffs an updated privilege
    2   log which included the email subject fields for fully withheld emails and filenames for
    3   attachments and loose files.
    4      10. Plaintiffs’ July 8, 2022 letter contained widespread data issues.       Plaintiffs
    5   committed to providing an updated spreadsheet of their challenges to DIRECTV’s
    6   privilege log on July 25, and sent DIRECTV that spreadsheet on July 26.
    7      11. DIRECTV has spent hundreds of hours interviewing DIRECTV’s data engineers
    8   and consultants in order to respond to the parties’ structured data questions, which now
    9   total over 300 (many of which include dozens of subparts and alternative options making
   10   one question in fact dozens of questions).
   11      12. DIRECTV has spent several dozen hours tracking down witnesses Plaintiffs’
   12   intend to depose in their 30(b)(1) and 30(b)(6) capacities, six of whom are former
   13   employees and some of whom have not been at DIRECTV for more than a decade.
   14   DIRECTV spent countless more hours scheduling depositions for DIRECTV witnesses
   15   on dates that Plaintiffs’ originally told DIRECTV they were available, only to have
   16   Plaintiffs request DIRECTV go back to each witness to find new dates because
   17   Plaintiffs’ (at least) three law firms were unable to accommodate any of their originally
   18   proposed dates. Indeed, DIRECTV spent hours preparing a witness in his 30(b)(6)
   19   capacity, only to have Plaintiffs cancel his 30(b)(6) deposition on the week of his
   20   deposition due to Plaintiffs’ inability to go forward.
   21          I declare under penalty of perjury under the laws of the United States of America
   22   that the foregoing is true and correct.
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Case 2:15-ml-02668-PSG-SK Document 586-1 Filed 07/29/22 Page 4 of 4 Page ID #:9889



    1         Signed this 29th day of July in Krakow, Poland.
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    3   Dated: July 29, 2022
    4
                                                      By:
                                                            Jeffrey A. N. Kopczynski
    5                                                       (pro hac vice forthcoming)
    6
                                                            O’MELVENY & MYERS LLP
                                                            Times Square Tower
    7                                                       7 Times Square
                                                            New York, NY 10036
    8
                                                            (212) 326-2000 (telephone)
    9                                                       (212) 326-2061 (facsimile)
   10
                                                        Attorneys for Non-Party DIRECTV, LLC
   11                                                    and DIRECTV Holdings LLC
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